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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________             Texas
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/1

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Sanchez Energy Corporation
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             4 5          3 0 9 0 1 0 2
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            1000       Main Street
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 3000
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Houston                    TX       77002
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Harris County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.sanchezenergycorp.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor
                 Sanchez Energy Corporation
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             2 ___
                                            ___ 1 ___
                                                   1 ___
                                                      1
8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,, (amount subject to adjustment on
                                                             4/01/ and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          See Rider 1                                                       Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                             Southern District of Texas
                                                   District _____________________________________________ When
                                                                                                                             08/11/2019
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         Sanchez Energy Corporation
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have       No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor          Sanchez Energy Corporation
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                         08/ 11/2019
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8      /s/ Gregory Kopel
                                            _____________________________________________               Gregory Kopel
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Executive Vice President and General Counsel
                                            Title _________________________________________




18.   Signature of attorney
                                        8      /s/ Matthew D. Cavenaugh
                                            _____________________________________________              Date          08/ 11/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             Matthew D. Cavenaugh
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Jackson Walker L.L.P.
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1401        McKinney Street, Suite 1900
                                            _________________________________________________________________________________________________
                                            Number      Street
                                             Houston
                                            ____________________________________________________            TX
                                                                                                           ____________  77010
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             (713) 752-4284
                                            ____________________________________                            mcavenaugh@jw.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             24062656
                                            ______________________________________________________  TX
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                                 [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _______________.
                                       001-35372


              2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.
        06/30/2019

              a. Total assets                                                                   $ 2,159,915,332

              b. Total debts (including debts listed in 2.c., below)                            $   2,854,673,930

              c. Debt securities held by more than 500 holders
                                                                                                                                Approximate
                                                                                                                                number of
                                                                                                                                holders:

              secured        G   unsecured      G     subordinated        G    $
              secured        G   unsecured      G     subordinated        G    $
              secured        G   unsecured      G     subordinated        G    $
              secured        G   unsecured      G     subordinated        G    $
              secured        G   unsecured      G     subordinated        G    $

              d. Number of shares of preferred stock                                                                             3,130,514 (aggregate)

              e. Number of shares common stock                                                                                   100,075,338


              Comments, if any:         Individual series of preferred stock: 619,502 (Series A); 2,511,012 (Series B)




              3. Brief description of debtor=s business:              Sanchez Energy Corporation and its debtor and non-debtor affiliates are an
        independent exploration and production company focused on the acquisition and development of U.S. onshore oil and natural gas resources.




            4. List the names of anyy person
                                      p      who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
        A.R. Sanchez, Jr.




        Official Form 201A                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                             RIDER 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        As of the date hereof, each of the entities listed below (the “Debtors”) filed a petition in
this Court for relief under chapter 11 of title 11 of the United States Code. The Debtors will
move for joint administration of these cases under the case number assigned to the chapter 11
case of Sanchez Energy Corporation.

   1. Sanchez Energy Corporation

   2. SN Palmetto, LLC

   3. SN Marquis LLC

   4. SN Cotulla Assets, LLC

   5. SN Operating, LLC

   6. SN TMS, LLC

   7. SN Catarina, LLC

   8. Rockin L Ranch Company, LLC

   9. SN EF Maverick, LLC

   10. SN Payables, LLC

   11. SN UR Holdings, LLC
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                                        CERTIFICATE

        The undersigned, Gregory Kopel, an Authorized Officer of the Company, hereby certifies
as follows:

   a) I am a duly qualified and elected officer of the Company, and, as such, I am familiar with
      the facts herein certified and duly authorized to certify the same on behalf of the
      Company.

   b) Attached hereto is a true, complete and correct copy of the resolutions of the Board, duly
      adopted in accordance with the Company’s bylaws.

   c) Such resolutions have not been amended, altered, annulled, rescinded or revoked and are
      in full force and effect as of the date hereof. There exists no other subsequent resolution
      of the Board relating to the matters set forth in the resolutions attached hereto.

   IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date first
   set forth above.



                                            By:    /s/ Gregory Kopel__________________
                                            Name: Gregory Kopel
                                            Title: Executive Vice President and General
                                                   Counsel
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                           OMNIBUS RESOLUTIONS
               OF THE BOARDS OF DIRECTORS AND SOLE MEMBERS
                   OF THE COMPANIES SET FORTH ON ANNEX A

                                         August 10, 2019

The board of directors or sole members, as applicable (each, a “Governing Body”), of each
applicable entity set forth on Annex A attached hereto (each, a “Company” and collectively, the
“Companies”), on behalf of such Company and each of such Company’s direct or indirect
subsidiaries that is also a Company and set forth on Annex A, for such Company and in such
Company’s (or Company subsidiary’s) capacity as the direct or indirect member and/or manager,
as applicable, of such other Company subsidiary, hereby take the following actions and adopt the
following resolutions, pursuant to the applicable certificate of incorporation, bylaws, operating
agreement, limited liability company agreement or similar document of each respective Company
(as amended, restated, amended and restated, supplemented or otherwise modified on or prior to
the date hereof, as applicable, a “Governing Document”) and the applicable laws of the state of
formation of each such Company, as set forth next to each such Company’s name on Annex A:

Chapter 11 Filing

       WHEREAS, the Special Committee (the “Special Committee”) of the Board of Directors
       of Sanchez Energy Corporation (the “Board”) has been duly charged with considering,
       evaluating and negotiating strategic and/or financial alternatives for Sanchez Energy
       Corporation, including the possibilities of seeking alternative financing, or undertaking a
       sale, restructuring, reorganization, or other recapitalization transaction and related
       financing involving Sanchez Energy Corporation and/or one or more of its direct and
       indirect subsidiaries, including the Companies (each of the foregoing and any combination
       of the foregoing, a “Transaction”), and taking certain other actions with respect thereto;

       WHEREAS, the Special Committee, in consultation with the Companies’ management
       (the “Management”) and financial, restructuring and legal advisors (collectively, the
       “Advisors”) and in consideration of all the applicable facts and circumstances has (i)
       determined that it is advisable and in the best interests of the Companies and their
       respective creditors and other parties in interest that the Companies file voluntary petitions
       for relief (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code
       (the “Bankruptcy Code”) and (ii) recommended that each Governing Body (x) authorize,
       empower and direct the filing of the Chapter 11 Cases under the provisions of the
       Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas
       or another court of proper jurisdiction, (y) employ legal counsel, accountants, financial
       advisors or other professionals such Companies’ officers deem necessary, appropriate or
       desirable, each to represent and assist each respective Company in carrying out its duties
       under the Bankruptcy Code and any applicable law, and to take any and all actions to
       advance each such Company’s rights and obligations and (z) otherwise take the actions and
       adopt the resolutions set forth below;
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       WHEREAS, each Governing Body considered presentations by each Company’s
       Management and Advisors, including, but not limited to, materials regarding the liabilities
       and liquidity situation of each Company, the Transactions and other strategic alternatives
       available to it and the effect of the foregoing on each such Company’s business;

       WHEREAS, each Governing Body has had the opportunity to consult with the
       Management and the Advisors of each respective Company and fully consider each of the
       Transactions and other strategic alternatives available to each such Company; and

       WHEREAS, after careful consideration of all of the facts and circumstances relating to
       the Chapter 11 Cases, each Governing Body has determined that it is advisable and in the
       best interests of the Companies and their respective creditors and other parties in interest
       that the Companies file the Chapter 11 Cases.

       NOW, THEREFORE, BE IT RESOLVED, that in the judgment of each Governing
       Body, it is advisable and in the best interests of each respective Company, its creditors and
       other parties in interest, that each Company shall be, and hereby is, authorized, empowered
       and directed to file or cause to be filed the Chapter 11 Cases under the provisions of the
       Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas
       or another court of proper jurisdiction; and

       RESOLVED, that the Chief Executive Officer, President, Chief Financial Officer, General
       Counsel and any other duly appointed officer of each Company (each, an “Authorized
       Officer” and collectively, the “Authorized Officers”), acting alone or with one or more
       other Authorized Officers be, and hereby are, authorized, empowered and directed to
       execute and file on behalf of each respective Company all petitions, schedules, lists and
       other motions, papers or documents (including the filing of financing statements) as
       necessary to commence the Chapter 11 Cases and obtain chapter 11 relief, and to take any
       and all action that they deem necessary, appropriate or desirable to obtain such relief,
       including, without limitation, any action necessary, appropriate or desirable to maintain the
       ordinary course operation of each such Company’s business.

Retention of Professionals

       NOW, THEREFORE, BE IT RESOLVED, that the applicable Authorized Officers,
       acting alone or with one or more other applicable Authorized Officers, be, and hereby are,
       authorized, empowered and directed to employ: (i) the law firm of Akin Gump Strauss
       Hauer & Feld LLP, as general bankruptcy counsel, (ii) the law firm of Jackson Walker LLP,
       as co-bankruptcy counsel, (iii) Moelis & Company LLC, as financial advisor, (iv) Alvarez
       & Marsal North America, LLC, as restructuring advisor, (v) Prime Clerk LLC, as notice
       and claims agent and (vi) any other legal counsel, accountants, financial advisors or other
       professionals such Authorized Officers deem necessary, appropriate or desirable, each to
       represent and assist each respective Company in carrying out its duties under the
       Bankruptcy Code and any applicable law, and to take any and all actions to advance each
       such Company’s rights and obligations, including, without limitation, filing any motions,
       objections, replies, applications or pleadings, and in connection therewith, such Authorized


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      Officers, with power of delegation, are hereby authorized, empowered and directed to
      execute (under the common seal of each respective Company, if appropriate) appropriate
      retention agreements, pay appropriate retainers and to cause to be filed any appropriate
      applications for authority to retain such services; and

      RESOLVED, that the applicable Authorized Officers, acting alone or with one or more
      other applicable Authorized Officers, be, and hereby are, with power of delegation,
      authorized, empowered and directed to execute (under the common seal of each respective
      Company, if appropriate) and file all petitions, schedules, motions, lists, applications,
      pleadings and other papers and, in connection therewith, to employ and retain all assistance
      by legal counsel, accountants, financial advisors and other professionals and to take and
      perform any and all further acts and deeds that the Authorized Officers in their sole
      discretion deem necessary, appropriate or desirable in connection with the matters
      authorized in these resolutions.

Debtor-In-Possession Financing

      WHEREAS, reference is made to the draft Debtor-In-Possession Credit Agreement
      previously provided to and reviewed by the Board (together with all exhibits, schedules
      and annexes thereto, the “DIP Credit Agreement”) by and among Sanchez Energy
      Corporation, as the borrower (the “Borrower”) and to be a debtor and debtor-in-possession
      under Chapter 11 of the Bankruptcy Code, an administrative agent (the “DIP Agent”), the
      lenders from time to time party thereto (collectively, the “DIP Lenders”) and any other
      agents with respect thereto;

      WHEREAS, the Borrower has requested that the DIP Lenders provide a senior secured
      debtor-in-possession term loan credit facility to the Borrower;

      WHEREAS, the obligation of the DIP Lenders to make the extensions of credit to the
      Borrower is subject to, among other things, the Borrower entering into the DIP Credit
      Agreement and the relevant Companies satisfying certain conditions in the DIP Credit
      Agreement;

      WHEREAS, after careful consideration of all the facts and circumstances related to the
      DIP Credit Agreement and the other DIP Loan Documents (as defined below), the Special
      Committee has (i) determined that each Company will obtain benefits from the DIP Loan
      Documents and it is in the best interests of each Company that each Company enter into
      each DIP Loan Document to which it is a party and to perform its obligations thereunder,
      including guaranties, if any, and the granting of security interests in all or substantially all
      of its assets, (ii) determined that the transactions contemplated by the DIP Loan
      Documents, including the granting of any liens or security interests and the issuance of any
      guaranties, are (x) advisable and in the best interests of the Companies, (y) necessary and
      convenient to the conduct, promotion and attainment of the business of the Companies, and
      (z) reasonably expected to directly or indirectly benefit the Companies, and (iii)
      recommended that each Company, if a party thereto, (y) enter into the DIP Credit
      Agreement and the other DIP Loan Documents and any and all other documents,
      certificates, instruments, agreements, intercreditor agreements, any amendment or any

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other modification required to consummate the transactions contemplated by the DIP
Credit Agreement and each other DIP Loan Document in the name of, and on behalf of,
each such Company, in the form, and with such changes, modifications and amendments
thereto, as any Authorized Officer of the applicable Company may in his or her sole
discretion approve, and (z) otherwise take the actions and adopt the resolutions set forth
below;

WHEREAS, each Company will obtain benefits from the DIP Credit Agreement and it is
in the best interests of each Company that the Borrower enters into the DIP Credit
Agreement and performs its obligations thereunder; and

WHEREAS, collectively, each Company will obtain benefits from the DIP Credit
Agreement and any ancillary or related loan documents (the “DIP Loan Documents”) and
it is in the best interests of each Company that each Company enter into each DIP Loan
Document to which it is a party and to perform its obligations thereunder, including
guaranties, if any, and the granting of security interests in all or substantially all of its assets.

NOW, THEREFORE, BE IT RESOLVED, that the DIP Credit Agreement and each other
DIP Loan Document, and the transactions contemplated by the DIP Credit Agreement
(including, without limitation, the borrowings thereunder) and each other DIP Loan
Document, the transactions contemplated thereby and the guaranties, liabilities,
obligations, security interests granted and notes issued, if any, in connection therewith, be
and hereby are authorized, adopted and approved (in the form, and with such changes,
modifications and amendments thereto, as any Authorized Officer of the applicable
Company may in his or her sole discretion approve);

RESOLVED, that each Company will obtain benefits from the DIP Credit Agreement and
it is in the best interests of each Company that the Borrower enters into the DIP Credit
Agreement and performs its obligations thereunder;

RESOLVED, that each Company will obtain benefits from the DIP Credit Agreement and
the other DIP Loan Documents and it is in the best interests of each Company that each
Company enters into the DIP Loan Documents to which it is a party and performs its
obligations thereunder, including guaranties, if any, and the granting of security interests
in all or substantially all of its assets, as applicable;

RESOLVED, that each Company’s execution and delivery of, and its performance of its
obligations (including guaranties and the granting of liens) in connection with, the DIP
Credit Agreement and the other DIP Loan Documents are hereby, in all respects, authorized
and approved;

RESOLVED, that each of the Authorized Officers, acting alone or with one or more
Authorized Officers, is hereby authorized, empowered and directed to negotiate the terms
of, and to execute, deliver and perform under, the DIP Credit Agreement and the other DIP
Loan Documents and any and all other documents, certificates, instruments, agreements,
intercreditor agreements, any amendment or any other modification required to


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consummate the transactions contemplated by the DIP Credit Agreement and each other
DIP Loan Document in the name of, and on behalf of, each Company, in the form, and with
such changes, modifications and amendments thereto, as any of the applicable Authorized
Officers may in his or her sole discretion approve, which approval shall be conclusively
evidenced by his or her execution thereof, and which such execution by any of the
Authorized Officers is hereby authorized to be by facsimile, engraved or printed as deemed
necessary and preferable;

RESOLVED, that each of the applicable Authorized Officers, acting alone or with one or
more other applicable Authorized Officers be, and hereby are, authorized, empowered and
directed in the name of, and on behalf of, each respective Company to (i) seek authorization
to enter into the DIP Credit Agreement and each other DIP Loan Document and to seek
approval of the use of cash collateral pursuant to a postpetition financing order in interim
and final form and (ii) negotiate, execute and deliver any and all agreements, instruments
or documents, by or on behalf of each such Company, necessary to implement the
postpetition financing, including providing for adequate protection to the prepetition
secured lenders (the “Secured Lenders”) in accordance with section 361 of the Bankruptcy
Code, as well as any additional or further agreements for entry into the DIP Credit
Agreement and each other DIP Loan Document and the use of cash collateral in connection
with each such Company’s Chapter 11 Cases, which agreements may require each such
Company to grant adequate protection and liens to each such Company’s Secured Lenders
and each other agreement, instrument or document to be executed and delivered in
connection therewith, by or on behalf of each such Company pursuant thereto or in
connection therewith, all in the form of and with such changes therein and additions thereto
as any of the applicable Authorized Officers may in his or her sole discretion approve,
which approval shall be conclusively evidenced by the taking of such action or by the
execution and delivery thereof;

RESOLVED, that (i) the terms and provisions of the DIP Credit Agreement, (ii) each other
DIP Loan Document to which each respective Company is a party, (iii) the grant of security
interests in, pledges of and liens on all or substantially all of the assets now or hereafter
owned by each such Company as collateral (including pledges of equity and personal
property as collateral) under the DIP Loan Documents, and (iv) the guaranty of obligations
by each such Company under the DIP Loan Documents that is to be a guarantor thereunder,
from which each such Company will derive value, be and hereby are authorized, adopted
and approved, and any applicable Authorized Officer or other officer of each Company,
acting alone or with one or more other applicable Authorized Officers or such other officer,
is hereby authorized, empowered and directed, in the name of, and on behalf of, each such
Company, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform and cause the performance of, each of the transactions
contemplated by the DIP Credit Agreement, in the form, and with such changes,
modifications and amendments thereto, as any Authorized Officer of the applicable
Company may in his or her sole discretion approve, and such other agreements, fee letters,
commitment letters, certificates, instruments, receipts, petitions, motions or other papers
or documents to which each such Company is or will be a party or any order entered into
in connection with the Chapter 11 Cases (collectively with the DIP Loan Documents, the


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“Financing Documents”), incur and pay or cause to be paid all related fees and expenses,
with such changes, additions and modifications thereto as an Authorized Officer executing
the same shall approve;

RESOLVED, that each respective Company, as debtor and debtor-in-possession under the
Bankruptcy Code be, and hereby is, authorized, empowered and directed to incur any and
all obligations and to undertake any and all related transactions on substantially the same
terms as contemplated under the Financing Documents (collectively, the “Financing
Transactions”), including guaranties and the granting of liens on its assets to secure such
obligations and the refinancing of the obligations outstanding pursuant to the Borrower’s
existing credit agreement;

RESOLVED, that each of the applicable Authorized Officers, acting alone or with one or
more other applicable Authorized Officers, be, and hereby are, authorized, empowered and
directed in the name of, and on behalf of, each respective Company, as debtor and debtor-
in-possession, to take such actions as in his or her sole discretion is determined to be
necessary, appropriate or desirable to execute, deliver and file: (i) the Financing Documents
and such agreements, certificates, instruments, guaranties, notices and any and all other
documents, including, without limitation, any amendments, supplements, modifications,
renewals, replacements, consolidations, substitutions and extensions of any Financing
Documents, which shall in his or her sole discretion be necessary, appropriate or desirable,
which determination shall be conclusively evidenced by his or her execution, delivery or
filing thereof, to facilitate the Financing Transactions, (ii) all petitions, schedules, lists and
other motions, papers or documents, which shall in his or her sole discretion be necessary,
appropriate or desirable, which determination shall be conclusively evidenced by his or her
execution, delivery or filing thereof, (iii) such other instruments, certificates, notices,
assignments and documents as may be reasonably requested by the DIP Agent or other
parties in interest and (iv) such forms of deposit account control agreements, officer’s
certificates and compliance certificates as may be required by the Financing Documents;

RESOLVED, that each of the applicable Authorized Officers, acting alone or with one or
more other applicable Authorized Officers, be, and hereby are, authorized, empowered and
directed in the name of, and on behalf of, each respective Company to file or to authorize
the DIP Agent or other applicable party in interest to file any Uniform Commercial Code
(“UCC”) financing statements, any other equivalent filings, any intellectual property or
real estate filings and recordings and any necessary assignments for security or other
documents in the name of each respective Company that the DIP Agent or such other party
deems necessary or convenient to perfect any lien or security interest granted under the
Financing Documents, including any such UCC financing statement containing a generic
description of collateral, such as “all assets,” “all property now or hereafter acquired” and
other similar descriptions of like import, and to execute and deliver, and to record or
authorize the recording of, such mortgages and deeds of trust in respect of real property of
each such Company and such other filings in respect of intellectual and other property of
each such Company, in each case as the DIP Agent or such other party may reasonably
request to perfect the security interests of the DIP Agent or such other party under the
Financing Documents;


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      RESOLVED, that each of the applicable Authorized Officers, acting alone or with one or
      more other applicable Authorized Officers, be, and hereby are, authorized, empowered and
      directed in the name of, and on behalf of, each respective Company to take all such further
      actions, including, without limitation, to pay or approve the payment of all fees and
      expenses payable in connection with the Financing Transactions and all fees and expenses
      incurred by or on behalf of each such Company in connection with the foregoing
      resolutions, in accordance with the terms of the Financing Documents, which shall in his
      or her sole discretion be necessary, appropriate or desirable to perform each Company’s
      obligations under or in connection with the Financing Documents or any of the Financing
      Transactions and to fully carry out the intent of the foregoing resolutions;

      RESOLVED, that each of the applicable Authorized Officers, acting alone or with one or
      more other applicable Authorized Officers, be, and hereby are, authorized, empowered and
      directed in the name of, and on behalf of, each respective Company, to execute and deliver
      any amendments, supplements, modifications, renewals, replacements, consolidations,
      substitutions and extensions of the postpetition financing or any of the Financing
      Documents or to do such other things which shall in his or her sole discretion be necessary,
      appropriate or desirable to give effect to the foregoing resolutions, which determination
      shall be conclusively evidenced by his or her execution thereof; and

      RESOLVED, that to the extent any Company serves as the sole member, managing
      member, equivalent manager or other governing body (each, a “Controlling Company”)
      of any other Company (each, a “Controlled Company”), each applicable Authorized
      Officer of the applicable Controlling Company, acting alone or with one or more other
      applicable Authorized Officers, is authorized, empowered and directed to take each of the
      actions described in or authorized by these resolutions on behalf of the applicable
      Controlled Company.

General

      NOW, THEREFORE, BE IT RESOLVED, that in addition to the specific authorizations
      heretofore conferred upon the applicable Authorized Officers, each of the applicable
      Authorized Officers (and their designees and delegates) be, and hereby are, authorized,
      empowered and directed in the name of, and on behalf of, each respective Company, to
      take or cause to be taken any and all such other and further action, and to execute,
      acknowledge, deliver and file any and all such agreements, certificates, instruments and
      other documents and to pay all expenses, including, but not limited to, filing fees, in each
      case as in such Authorized Officer’s sole discretion, shall be necessary, appropriate or
      desirable in order to fully carry out the intent and accomplish the purposes of the
      resolutions adopted herein;

      RESOLVED, that in addition to the specific authorizations conferred by the foregoing
      resolutions upon the Authorized Officers, the Authorized Officers are, and each of them
      individually hereby is, authorized, empowered, and directed in the name and on behalf of
      each Company and of any Company subsidiaries (to the extent also a Company), as
      applicable, to do or cause to be done all further acts and things (including, but not limited

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to, (i) the approval, execution and delivery of all such agreements, instruments, certificates
and other documents; (ii) adopting resolutions or executing written consents on behalf of
any applicable entity in its capacity as a general partner, limited partner, manager, member
or other security or right holder of or in another entity; and (iii) voting interests or otherwise
exercising rights on behalf of a Company or other entity in its capacity as a general partner,
limited partner, manager, member or other security or right holder of or in another entity)
as the Authorized Officers doing the same or causing thereof, deem necessary, desirable,
or appropriate in order to carry into effect the purposes and intent of the foregoing
resolutions; with the doing of the same or causing the same to be done by any such
Authorized Officer establishing conclusively such Authorized Officer’s authority and, if
specific forms of resolutions are necessary, desirable, or appropriate to accomplish the
transactions contemplated by the foregoing resolutions, then the same shall be deemed to
have been and hereby are adopted, and any appropriate officer, including any Authorized
Officer, is authorized to certify the adoption of all such resolutions as though such
resolutions are part of this resolution;

RESOLVED, that the Governing Body of each respective Company has received sufficient
notice of the actions and transactions relating to the matters contemplated by the foregoing
resolutions as may be required by the Governing Documents of each such Company or
hereby waives any right to have received such notice;

RESOLVED, that all acts of the Special Committee and all acts, actions and transactions
relating to the matters contemplated by the foregoing resolutions done in the name of, and
on behalf of, each respective Company, which acts would have been approved by the
foregoing resolutions except that such acts were taken before the adoption of these
resolutions, are hereby, in all respects, approved and ratified as the true acts and deeds of
each such Company with the same force and effect as if each such act, transaction,
agreement or certificate has been specifically authorized in advance by resolution of the
applicable Governing Body; and

RESOLVED, that each of the applicable Authorized Officers, acting alone or with one or
more other applicable Authorized Officers (and their designees and delegates) be, and
hereby are, authorized, empowered and directed to take all actions or to not take any action
in the name of each respective Company with respect to the transactions contemplated by
these resolutions hereunder, as such Authorized Officer shall deem necessary or desirable
in such Authorized Officer’s sole discretion to effectuate the purposes of the transactions
contemplated herein.

                                         *****




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                                 ANNEX A

                 Company                            Jurisdiction

Sanchez Energy Corporation            Delaware

SN Palmetto, LLC                      Delaware

SN Marquis LLC                        Delaware

SN Cotulla Assets, LLC                Texas

SN Operating, LLC                     Texas

SN TMS, LLC                           Delaware

SN Catarina, LLC                      Delaware

Rockin L Ranch Company, LLC           Delaware

SN Payables, LLC                      Delaware

SN EF Maverick, LLC                   Delaware

SN UR Holdings, LLC                   Delaware




                                  Annex A
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


                                                                      )
    In re:                                                            )      Chapter 11
                                                                      )
    SANCHEZ ENERGY CORPORATION,                                       )      Case No. 19-___ (___)
                                                                      )
                               Debtor.                                )
                                                                      )

                                LIST OF EQUITY SECURITY HOLDERS1


         Debtor             Equity Holder             Address of               Type of             Percentage of
                                                     Equity Holder              Equity             Equity Held
                                                                               Security

    Sanchez Energy         A.R. Sanchez, Jr.                                   Common                   6.25%
      Corporation                                                               Stock




1
    This list reflects holders of five percent or more of Sanchez Energy Corporation’s common stock. This list serves
     as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
     Procedure. By the Debtors’ Emergency Motion for Entry of an Order (I) Extending Time to File (A) Schedules of
     Assets and Liabilities, (B) Schedules of Current Income and Expenditures, (C) Schedules of Executory Contracts
     and Unexpired Leases, (D) Statements of Financial Affairs, and (E) Rule 2015.3 Financial Reports; (II) Waiving
     the Requirement to File a List of Equity Security Holders; and (III) Granting Related Relief filed contemporaneously
     herewith, the debtor is requesting a waiver of the requirement under Rule 1007 to file a list of all of its equity
     security holders.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                                        )
 In re:                                                 )    Chapter 11
                                                        )
 SANCHEZ ENERGY CORPORATION,                            )    Case No. 19-___ (___)
                                                        )
                       Debtor.                          )
                                                        )

                        CORPORATE OWNERSHIP STATEMENT


        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity interest.

                 Shareholder                       Approximate Percentage of Shares Held

                      N/A                                               -
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 Fill in this information to identify the case and this filing:


              Sanchez Energy Corporation
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a         List of Equity Security Holders, Corporate Ownership                   Statement
              declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    08/11/2019
        Executed on ______________                         8 /s/ Gregory Kopel
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Gregory Kopel
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Executive Vice President and General Counsel
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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    Fill in this information to identify the case:
    Debtor name Sanchez Energy Corporation
    United States Bankruptcy Court for the: Southern District of Texas
    Case number (If known): ______________                                                                                                     Check if this is an
                                                                                                                                                amended filing

    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                   12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
    include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured
    claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
                                                                                                                                                   Amount of unsecured claim
                                                                                                                                                   If the claim is fully unsecured, fill in only
                                                                                                                                                   unsecured claim amount. If claim is partially
                                                                                                                                                   secured, fill in total claim amount and deduction
                                                                                                                               Indicate if claim
    Name of creditor and complete mailing address, Name, telephone number, and email address of creditor   Nature of the                           for value of collateral or setoff to calculate
                                                                                                                               is contingent,
    including zip code                             contact                                                 claim                                   unsecured claim.
                                                                                                                               unliquidated,
                                                                                                                                                                     Deduction for
                                                                                                                               disputed            Total claim, if
                                                                                                                                                                     value of        Unsecured
                                                                                                                                                   partially
                                                                                                                                                                     collateral or claim
                                                                                                                                                   secured
                                                                                                                                                                     setoff
1   DELAWARE TRUST COMPANY                             GREGORY DANIELS
    251 LITTLE FALLS DRIVE                             TRUST ADMINISTRATOR
    WILMINGTON, DE 19808                                                                                     6.125% Senior
                                                       Phone: (877) 374-6010                                 Notes due 2023
                                                                                                                                                                                       $1,185,218,750
                                                       Fax: (302) 636-8666                                  (Includes Unpaid
                                                       Email: GREGORY.DANIELS@DELAWARETRUST.COM                  Interest)


2   DELAWARE TRUST COMPANY                             GREGORY DANIELS
    251 LITTLE FALLS DRIVE                             TRUST ADMINISTRATOR
    WILMINGTON, DE 19808
                                                       Phone: (877) 374-6010                                 7.75% Senior
                                                                                                                                                                                         $600,000,000
                                                       Fax: (302) 636-8666                                  Notes due 2021
                                                       Email: GREGORY.DANIELS@DELAWARETRUST.COM


3   MARATHON OIL EF LLC                                LEE TILLMAN
    5555 SAN FELIPE STREET                             PRESIDENT & CEO
    HOUSTON, TX 77056-2723
                                                       Phone: (713) 629-6600                                  JIB Payables        Unliquidated                                             $8,897,886
                                                       Fax: (713) 296-2952
                                                       Email: LTILLMAN@MARATHONOIL.COM


4   GAVILAN RESOURCES LLC                              ANGELO ACCONCIA
    345 PARK AVENUE                                    SENIOR MANAGING DIRECTOR
    43RD FLOOR
    NEW YORK, NY 10154                                 Phone: (212) 583-5000                                Prepaid Capital
                                                                                                                                  Unliquidated                                             $3,781,007
                                                       Email: ACCONCIA@BLACKSTONE.COM                        Expenditures



5   LEGEND ENERGY SERVICES LLC                         TREY INGRAM
    5801 BROADWAY RD                                   CEO
    SUITE 210
    OKLAHOMA CITY, OK 73118                            Phone: (405) 600-1264                                Trade Payables                                                                 $2,316,296
                                                       Fax: (405) 608-8851
                                                       Email:
                                                       TREY.INGRAM@LEGENDENERGYSERVICES.COM

6   VEOLIA WATER SOLUTIONS                             ANTOINE FREROT
    23885 NETWORK PLACE                                PRESIDENT
    CHICAGO, IL 60673
                                                       Phone: (412) 809-6000                                Trade Payables                                                                 $1,079,297
                                                       Fax: (919) 677-0082
                                                       Email: AFREROT@VEOLIA.COM


7   KODIAK GAS SERVICES LLC                            DAVID MARRS
    15320 HIGHWAY 105 WEST STE 210                     CEO
    MONTGOMERY, TX 77356
                                                       Phone: (936) 539-3300                                Trade Payables                                                                 $1,073,589
                                                       Fax: (936) 539-3301
                                                       Email: DAVID.MARRS@KODIAKGAS.COM
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             Name




                                                                                                                                                           Amount of unsecured claim
                                                                                                                                                           If the claim is fully unsecured, fill in only
                                                                                                                                                           unsecured claim amount. If claim is partially
                                                                                                                                                           secured, fill in total claim amount and deduction
                                                                                                                                       Indicate if claim
             Name of creditor and complete mailing address, Name, telephone number, and email address of creditor   Nature of the                          for value of collateral or setoff to calculate
                                                                                                                                       is contingent,
             including zip code                             contact                                                 claim                                  unsecured claim.
                                                                                                                                       unliquidated,
                                                                                                                                                                             Deduction for
                                                                                                                                       disputed            Total claim, if
                                                                                                                                                                             value of        Unsecured
                                                                                                                                                           partially
                                                                                                                                                                             collateral or claim
                                                                                                                                                           secured
                                                                                                                                                                             setoff
     8       PILOT THOMAS LOGISTICS                         DENNIS CASSIDY
             201 NORTH RUPERT STREET                        CEO
             FORT WORTH, TX 76107
                                                            Phone: (817) 877-8300                                    Trade Payables                                                                  $943,915
                                                            Email: DENNIS.CASSIDY@PILOTTHOMAS.COM



     9       HALLIBURTON ENERGY SERVICES INC                JEFF MILLER
             3000 NORTH SAM HOUSTON PARKWAY                 CEO
             EAST
             HOUSTON, TX 77032                              Phone: (281) 871-4000                                    Trade Payables                                                                  $904,076
                                                            Fax: (281) 876-4455
                                                            Email: JEFF.MILLER@HALLIBURTON.COM


     10      NABORS DRILLING USA INC                        ANTHONY PETRELLO
             515 W GREENS RD, STE 1200                      CEO
             HOUSTON, TX 77067
                                                            Phone: (281) 874-0035                                    Trade Payables                                                                  $793,064
                                                            Fax: (432) 550-9993
                                                            Email: ANTHONY.PETRELLO@NABORS.COM


     11      TENARIS GLOBAL SVS USA CORP.                   PAOLO ROCCA
             2200 WEST LOOP SOUTH, SUITE 800                CEO
             HOUSTON, TX 77027
                                                            Phone: (713) 767-4400                                    Trade Payables                                                                  $764,565
                                                            Fax: (713) 167-4444
                                                            Email: PROCCA@TENARIS.COM


     12      DANOS LLC                                      GARRET "HANK" DANOS
             3878 WEST MAIN STREET                          OWNER
             GRAY, LA 70359
                                                            Phone: (985) 219-3313                                    Trade Payables                                                                  $650,316
                                                            Fax: (985) 219-3986
                                                            Email: HDANOS@DANOS.COM


     13      RUSCO OPERATING LLC                            XUAN YONG
             98 SAN JACINTO BLVD STE 550                    OWNER
             AUSTIN, TX 78701
                                                            Phone: (512) 501-5452                                    Trade Payables                                                                  $649,613
                                                            Email: XUAN@RIGUP.COM



     14      EAGLE FORD TX LP                               ILRAE PARK
             5555 SAN FELIPE, SUITE 1175                    PRESIDENT
             HOUSTON, TX 77056
                                                            Phone: (713) 552-9090                                    Prepaid Capital
                                                                                                                                          Unliquidated                                               $632,617
                                                            Fax: (713) 552-1898                                       Expenditures
                                                            Email: ILRAE.PARK@KNOC.COM


     15      MONARCH SILICA LLC                             PAUL A WELCH
             22631 CAMPBELLTON RD.                          CEO
             SAN ANTONIO, TX 78264
                                                            Phone: (281) 889-9279                                    Trade Payables                                                                  $564,673
                                                            Email: PWELCH@MONARCHSILICA.COM



     16      KNOWLES ENTERPRISES LLC                        MIKE KNOWLES
             2381 RIVER ROAD                                PRESIDENT
             GRAND JUNCTION, CO 81505
                                                            Phone: (970) 434-1912                                    Trade Payables                                                                  $555,234
                                                            Fax: (970) 523-8998
                                                            Email: MIKE@KNOWLESTRANSPORTATION.COM




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             Name




                                                                                                                                                           Amount of unsecured claim
                                                                                                                                                           If the claim is fully unsecured, fill in only
                                                                                                                                                           unsecured claim amount. If claim is partially
                                                                                                                                                           secured, fill in total claim amount and deduction
                                                                                                                                       Indicate if claim
             Name of creditor and complete mailing address, Name, telephone number, and email address of creditor   Nature of the                          for value of collateral or setoff to calculate
                                                                                                                                       is contingent,
             including zip code                             contact                                                 claim                                  unsecured claim.
                                                                                                                                       unliquidated,
                                                                                                                                                                             Deduction for
                                                                                                                                       disputed            Total claim, if
                                                                                                                                                                             value of        Unsecured
                                                                                                                                                           partially
                                                                                                                                                                             collateral or claim
                                                                                                                                                           secured
                                                                                                                                                                             setoff
     17      AVEDA TRANSPORTATION & ENERGY                  RONNIE WITHERSPOON
             SERV                                           PRESIDENT & CEO
             333 NORTH SAM HOUSTON PKWY EAST,
             SUITE 1200                                     Phone: (403) 264-4950                                    Trade Payables                                                                  $537,500
             HOUSTON, TX 77060                              Fax: (403) 262-9195



     18      MS DIRECTIONAL LLC                             ALLEN R. NEEL
             3335 POLLOK DRIVE                              CEO
             CONROE, TX 77303
                                                            Phone: (936) 442-2500                                    Trade Payables                                                                  $513,677
                                                            Fax: (936) 442-2599
                                                            Email: ALLEN.NEEL@MSENERGY.COM


     19      C&J SPEC-RENT SERVICES INC                     DON GAWICK
             3990 ROGERDALE                                 PRESIDENT & CEO
             HOUSTON, TX 77042
                                                            Phone: (713) 325-6000                                    Trade Payables                                                                  $502,000
                                                            Fax: (713) 758-5962
                                                            Email: DON.GAWICK@CJES.COM


     20      MITSUI E&P TEXAS LP                            KAZUHIKO GOMI
             1300 POST OAK BLVD.                            PRESIDENT & CEO
             SUITE 1800
             HOUSTON, TX 77056                              Phone: (713) 960-0023                                    Prepaid Capital
                                                                                                                                          Unliquidated                                               $477,773
                                                            Email: K.GOMI@MITSUI.COM                                  Expenditures



     21      ACTS OILFIELD SERVICES LLC                     VICTOR GARCIA
             304 CHETUMAL DRIVE                             PRESIDENT
             LAREDO, TX 78045
                                                            Phone: (956) 251-8699                                    Trade Payables                                                                  $475,811
                                                            Fax: (956) 568-2198



     22      CACTUS WELLHEAD LLC                            SCOTT BENDER
             920 MEMORIAL CITY WAY, SUITE 300               PRESIDENT & CEO
             HOUSTON, TX 77024
                                                            Phone: (713) 626-8800                                    Trade Payables                                                                  $453,117
                                                            Email: SCOTT.BENDER@CACTUSWELLHEAD.COM



     23      TIDAL LOGISTICS INC                            CHARLES FANGUY JR.
             12319 BUSINESS HWY 287                         PRESIDENT
             FORT WORTH, TX 76179
                                                            Phone: (817) 839-1480                                    Trade Payables                                                                  $428,691
                                                            Email: CFANGUY@TIDALLOGISTICS.COM



     24      ARCHROCK PARTNERS                              D BRADLEY CHILDERS
             9807 KATY FREEWAY                              CEO
             SUITE 100
             HOUSTON, TX 77024                              Phone: (281) 836-8000                                    Trade Payables                                                                  $414,234
                                                            Fax: (302) 636-5454
                                                            Email: CHILDERSDB@COMCAST.NET


     25      AMPRO STRATEGIC ALLIANCE                       PRATT DOUCET
             136 OLD SAN ANTONIO ROAD                       PRESIDENT
             SUITE 303
             BOERNE, TX 78006                               Phone: (210) 626-2225                                    Trade Payables                                                                  $356,177
                                                            Fax: (210) 626-2226
                                                            Email: PRATT@AMPROSAFETY.COM




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                                                                                     Case Number (if known) ______________________________________
             Name




                                                                                                                                                                       Amount of unsecured claim
                                                                                                                                                                       If the claim is fully unsecured, fill in only
                                                                                                                                                                       unsecured claim amount. If claim is partially
                                                                                                                                                                       secured, fill in total claim amount and deduction
                                                                                                                                                   Indicate if claim
             Name of creditor and complete mailing address, Name, telephone number, and email address of creditor             Nature of the                            for value of collateral or setoff to calculate
                                                                                                                                                   is contingent,
             including zip code                             contact                                                           claim                                    unsecured claim.
                                                                                                                                                   unliquidated,
                                                                                                                                                                                         Deduction for
                                                                                                                                                   disputed            Total claim, if
                                                                                                                                                                                         value of        Unsecured
                                                                                                                                                                       partially
                                                                                                                                                                                         collateral or claim
                                                                                                                                                                       secured
                                                                                                                                                                                         setoff
     26      STEVENS TANKER DIVISION LLC                       STEVEN L. AARON
             9757 MILITARY PARKWAY                             CEO
             DALLAS, TX 75227
                                                               Phone: (866) 780-8320                                             Trade Payables                                                                  $320,151
                                                               Fax: (800) 434-7068
                                                               Email: STEVENAARON@STEVENSTRANSPORT.COM


     27      INNOVEX DOWNHOLE SOLUTIONS INC                    ADAM ANDERSON
             4310 NORTH SAM HOUSTON PARKWAY                    CEO
             EAST
             HOUSTON, TX 77032                                 Phone: (281) 602-7815                                             Trade Payables                                                                  $312,720
                                                               Fax: (281) 602-7894
                                                               Email: AANDERSON@TEAMOILTOOLS.COM


     28      GRYPHONESP LLC                                    MICHAEL MCCOY
             1210 ANTOINE DR.                                  MANAGER
              HOUSTON, TX 77055
                                                               Phone: (844) 363-7723                                             Trade Payables                                                                  $286,142
                                                               Email: MICHAEL@ESPSAFETYNET.COM



     29      MCKINSEY AND COMPANY                              DOMINIC BARTON
             55 EAST 52ND STREET, 21ST FLOOR                   MANAGING PARTNER
             NEW YORK, NY 10022                                                                                                                        Contingent,
                                                               Phone: (212) 446-7000                                             Trade Payables       Unliquidated,                                      Undetermined
                                                               Fax: (212) 446-8575                                                                      Disputed
                                                               Email: DOMINIC_BARTON@MCKINSEY.COM


     30      CRESCENT DRILLING & PRODUCTION INC.               SCOTT MCDONALD
             2400 VETERANS MEMORIAL BLVD SUITE                 PRESIDENT & CEO
             110                                                                                                                                       Contingent,
             KENNER, LA 70062-8711                             Phone: (504) 467-5100                                             Trade Payables       Unliquidated,                                      Undetermined
                                                               Fax: (504) 467-5175                                                                      Disputed
                                                               Email:
                                                               SCOTT.MCDONALD@CRESCENTDRILLING.COM

     Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities become invoiced.




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